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                                  EXHIBIT A
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                      IN TH E UN ITE D S TA TE S D IS TRIC T C O URT
                     FO R TH E N O RTH E RN D IS TRIC T O F IL L IN O IS
                                   E A S TE RN D IV IS IO N


IN RE :D E A L E R M A N A GE M E N T               M D L N o.28 17
S Y S TE M S A N TITRUS T L ITIGA TIO N             C ase N o.18 -cv-0 0 8 64

This D ocu mentRelates To:                          H onorable RobertM .D ow,J   r.
                                                    M agistrate J
                                                                u d ge J
                                                                       effrey T.Gilbert
TH E D E A L E RS H IP C L A S S A C TIO N



  [P RO P O S E D ] FIN A L A P P RO V A L O RD E R A N D JUD GM E N T FO R S E TTL E M E N T
                 B E TW E E N TH E D E A L E RS H IP C L A S S A N D RE Y N O L D S

       W H E RE A S,the D ealership C lass P laintiffs and The Reynold s and Reynold s C ompany

(“Reynold s”
           ) have entered into a Settlement A greement B etween the D ealership C lass and

Reynold s (the “A greement”
                          ),d ated O ctober23,20 18 ,to settle the D ealership C lass A ction as

againstReynold s only;and

       W H E RE A S,on N ovember 7 ,20 18 ,by P reliminary A pproval O rd er for Settlement

B etween the D ealershipC lass and Reynold s (“P reliminary A pprovalO rd er”
                                                                            )(E C F N o.432),this

C ou rt (a)preliminarily approved the Settlement; (b)ord ered that notice of the proposed

Settlementbe provid ed to the D ealershipC lass;(c)provid ed D ealershipC lass M embers withthe

opportu nity either to ex clu d e themselves from or to objectto the proposed Settlement;and

(d )sched u led ahearing regard ing finalapprovalof the Settlement(the “SettlementH earing”
                                                                                          );

and

       W H E RE A S,d u e and ad equ ate notice has been provid ed to the D ealership C lass in

accord ance withthe P reliminary A pprovalO rd er;and

       W H E RE A S,the C ou rt cond u cted the Settlement H earing on J
                                                                       anu ary 22,20 19 to

consid er,among other things,(i)whether the terms and cond itions of the Settlementare fair,




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reasonable and ad equ ate and the Settlementshou ld therefore be approved ;and (ii)whether a

ju d gmentshou ld be entered d ismissing the D ealership C lass A ction with preju d ice as against

Reynold s only;and

          W H E RE A S,the C ou rthaving reviewed and consid ered the A greement,allpapers filed

and proceed ings held herein in connection with the Settlement,alloraland written comments

mad e to the C ou rtregard ing the proposed Settlement,and the record in the D ealership C lass

A ction,and good cau se appearingtherefor;

          IT IS H E RE B Y O RD E RE D ,A D J
                                            UD GE D A N D D E C RE E D ,as follows:

          1.     This FinalA pprovalO rd erand J
                                               u d gmentincorporates by reference the d efinitions

setforthin the A greement,and allterms u sed herein shallhave the same meanings as setforthin

the A greementu nless otherwise specified herein.The terms of the A greementare incorporated in

this FinalA pprovalO rd erand J
                              u d gmentas if fu lly setforthherein.


          2.     Ju risd iction.The C ou rthas ju risd iction over the su bjectmatter of the M D L

A ction (inclu d ing this D ealership C lass A ction),and allmatters relating to the Settlement,as

wellas personalju risd iction overthe D ealershipC lass P laintiffs,allD ealershipC lass M embers,

and the D efend ants.


          3.     C lass C ertification.P u rsu antto Ru le 23(c)and (e)of the Fed eralRu les of C ivil

P roced u re,the C ou rtcertifies,for pu rposes of the Settlementonly,the following D ealership

C lass:


“D ealership C lass”means allpersons and entities located in the United States engaged in the
bu siness of the retailsale of au tomobiles who pu rchased D M S from C D K and /orReynold s,or
any pred ecessor,su ccessor,su bsid iary,jointventu re oraffiliate,d u ringthe period from J
                                                                                           anu ary
1,20 15 throu gh O ctober 23,20 18 .E x clu d ed from the D ealership C lass are D efend ants,
inclu d ing any entity or d ivision in which any D efend anthas a controlling interest,as wellas
D efend ants’jointventu res,su bsid iaries,affiliates,assigns,and su ccessors.


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       4.      The C ou rt find s and conclu d es, for pu rposes of the Settlement only, the

prerequ isites to aclass action u nd erFed eralRu le of C ivilP roced u re 23(a)have been satisfied ,in

that,withrespectto the D ealershipC lass:


               (a)      nu merosity is satisfied ;


               (b)      the claims of the D ealership C lass P laintiffs are typicalof those of the

otherD ealershipC lass M embers;


               (c)      there are qu estions of factand law thatare common to allmembers of the

D ealershipC lass;and


               (d )     the D ealership C lass P laintiffs will fairly and ad equ ately protect the

interests of the D ealership C lass and have retained cou nselex perienced in antitru stand class

action litigation who have and willcontinu e to ad equ ately representthe D ealershipC lass.


       5.      The C ou rt fu rther find s and conclu d es,for pu rposes of the Settlement with

Reynold s only,the D ealership C lass A ction may be maintained as a class action u nd er Ru le

23(b)(3)of the Fed eralRu les of C ivilP roced u re becau se (i)aclass action is su periorto other

available method s forthe fairand efficientad ju d ication of this controversy,and (ii)qu estions of

factand law common to the members of the D ealershipC lass pred ominate overany qu estions

affectingonly ind ivid u almembers.


       6.      P u rsu antto Ru le 23 of the Fed eralRu les of C ivilP roced u re,forpu rposes of the

Settlement,this C ou rtfinally certifies the D ealership C lass P laintiffs— (1) A C A M otors,Inc.

d /b/aC ontinentalA cu ra;(2)B aystate Ford Inc.;(3)C herry H illJ
                                                                 agu ar;(4)C liff H arris Ford ,

L L C d /b/a W arrensbu rg Ford ; (5) C ontinental A u tos,Inc.d /b/a/ C ontinental Toyota; (6)


                                                     3
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C ontinentalC lassic M otors,Inc.d /b/aC ontinentalA u tosports;(7 )58 0 0 C ou ntrysid e,L L C d /b/a/

C ontinentalM itsu bishi;(8 )H D A M otors,Inc.d /b/aC ontinentalH ond a;(9)H & H C ontinental

M otors,Inc.d /b/a C ontinentalN issan;(10 ) Gregoris M otors,Inc.;(11) H oover A u tomotive,

L L C d /b/a H oover D od ge C hrysler J
                                       eep of Su mmerville;(12) J
                                                                C F A u tos L L C d /b/a Stevens

J
ersey C ity Ford ;(13)J
                      ericho Tu rnpike Sales L L C d /b/aFord & L incoln of Smithtown;(14)J
                                                                                          im

M arsh A merican C orporation d /b/a J
                                     im M arsh M itsu bishiSu zu kiKia M ahind ra;(15) J
                                                                                       ohn

O ’N eilJ
        ohnson Toyota,L L C ;(16)Kenny Thomas E nterprises,Inc.d /b/aO lathe Toyota;(17 )

M arshallC hryslerJ
                  eepD od ge,L L C ;(18 )N aperville Zoom C ars,Inc.d /b/a/C ontinentalM azd a;

(19) N V A u tos,Inc.d /b/a C ontinentalA u d i;(20 ) P atchogu e 112 M otors L L C d /b/a Stevens

Ford ;(21) P itre Imports,L L C d /b/a P itre Kia;(22) P itre,Inc.d /b/a P itre B u ick GM C ;(23)

Teterboro A u tomall,Inc.d /b/aTeterboro C hryslerD od ge J
                                                          eepRam;(24)W aconiaD od ge,Inc.

d /b/aW aconiaD od ge C hryslerJ
                               eepRam;and (25)W arrensbu rgC hryslerD od ge J
                                                                            eep,L .L .C .—

as the D ealershipC lass Representatives.


       7.      C lass M embers B ou nd bythis FinalA pprovalO rd erand Ju d gment.P u rsu ant

to Ru le 23(c)(3)of the Fed eralRu les of C ivilP roced u re,allpersons and entities who fallwithin

the foregoing d escription of the D ealership C lass who have nottimely and valid ly requ ested

ex clu sion from the D ealershipC lass are D ealershipC lass M embers and are fu lly bou nd by this

FinalA pprovalO rd erand J
                         u d gmentand the terms of the A greement.


       8.      E x clu sion Requ ests.The persons and entities who timely and valid ly ex clu d ed

themselves from the D ealership C lass (“O pt-O u ts”
                                                    ) and are listed in E x hibit1 to this Final

A pprovalO rd erand J
                    u d gment.The O pt-O u ts are notbou nd by this FinalA pprovalO rd erand

J
u d gmentorthe terms of the A greement,and may pu rsu e theirown ind ivid u alremed ies (if any)




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againstReynold s and the Reynold s Releasees.H owever,the O pt-O u ts are notentitled to any of

the rights orbenefits accord ed to D ealershipC lass M embers u nd erthe A greement.


       9.        N otice.A s established by the SettlementA d ministrator’s D eclaration,filed on

D ecember19,20 18 ,the SettlementA d ministratorcau sed the M ailN otice in the form approved

by the P reliminary A pprovalO rd erto be mailed postage prepaid to allpotentialD ealershipC lass

M embers who cou ld be id entified from the record s of Reynold s and C D K,and cau sed the

P u blication N otice to be pu blished in the mannerrequ ired by the P reliminary A pprovalO rd er,

and the L ong-Form P osted N otice,also in the form approved by the P reliminary A pprovalO rd er,

to be mad e available to members of the D ealershipC lass on the SettlementW ebsite and u pon

theirrequ est.


       10 .      The C ou rt find s that the Settlement A d ministrator fu lly complied with the

P reliminary A pprovalO rd erand thatthe form and mannerof provid ingnotice to the D ealership

C lass of the proposed Settlement with Reynold s was the best notice practicable u nd er the

circu mstances,inclu d ingind ivid u alnotice to allmembers of the D ealershipC lass who cou ld be

id entified throu gh the ex ercise of reasonable effort.The C ou rt fu rther find s thatthe notice

program provid ed d u e and ad equ ate notice of these proceed ings and of the matters setforth

therein,inclu d ing the terms of the A greement,to allparties entitled to su ch notice and fu lly

satisfied the requ irements of Ru le 23 of the Fed eralRu les of C ivilP roced u re,28 U.S.C .§

17 15(b),and constitu tionald u e process.


       11.       O bjections.The C ou rtfind s there were no objections to the Settlementsetforth

in the A greement.




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       12.     FinalS ettlem entA pproval.P u rsu antto Ru le 23(e)of the Fed eralRu les of C ivil

P roced u re,the C ou rtfu lly and finally approves the Settlementwith Reynold s setforth in the

A greementand find s thatthe settlementis,in allrespects,fair,reasonable and ad equ ate to the

D ealership C lass.The C ou rtord ers the Settling P arties to consu mmate the Settlementwith

Reynold s setforthin the A greementin accord ance withits terms.


       13.     Release of C laims A gainstReynold s Releasees.Upon the E ffective D ate,and in

consid eration of paymentof the SettlementA mou nt,Reynold s Releasees shallbe completely

released ,acqu itted ,and foreverd ischarged from any and allReleased D ealershipC lass C laims

by the D ealershipC lass Releasors.


               (a)     “Reynold s Releasees”means Reynold s and allof its pastand present(as

of the E x ecu tion D ate),d irectand ind irect,parents,su bsid iaries,and affiliates and allof their

respective pastand present(as of the E x ecu tion D ate),d irectand ind irect,parents,su bsid iaries,

affiliates,u nincorporated entities,d ivisions,and grou ps;the pred ecessors,pred ecessors in

interest,su ccessors,su ccessors in interestand assigns of any of the above;and each and allof

the present (as of the E x ecu tion D ate) and former principals,partners,officers,d irectors,

su pervisors,employees,agents,representatives,stockhold ers,servants,members,entities,

insu rers,attorneys,heirs,ex ecu tors,ad ministrators,and assigns of any of the foregoing,as

wellas to anyone claimingby,for,orthrou gh any of the foregoing.


               (b)     “Released D ealershipC lass C laims”means any and allclaims,d emand s,

ju d gments,actions,su its,and cau ses of action,whetherclass,ind ivid u alorotherwise (whetheror

notany D ealership C lass M ember has objected to the settlementor makes a claim u pon or

participates in the SettlementFu nd ,whetherd irectly,ind irectly,representatively,d erivatively,or



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in any other capacity) that D ealership C lass Releasors,or each of them,whether d irectly,

ind irectly,representatively,d erivatively,orin any othercapacity,everhad ,now has,orhereafter

can,shall,or may have againstReynold s Releasees,whether known or u nknown,foreseen or

u nforeseen,su spected oru nsu spected ,actu alorcontingent,liqu id ated oru nliqu id ated ,relatingin

any way to any cond u ctpriorto the E ffective D ate and arising ou tof orrelated in any way,in

whole orin part,to any facts,circu mstances,acts,oromissions arising ou tof orrelated to the

d irect or ind irect provision,licensing,pricing,pu rchasing,selling,marketing,d evelopment,

availability,accessibility,or fu nctionality of D M S or D IS,inclu d ing bu tnotlimited to any

cond u ctalleged ,and cau ses of action asserted orthatcou ld have been alleged orasserted ,in any

complaints filed in the D ealershipC lass A ction,inclu d ingwithou tlimitation those arisingu nd er

antitru st, u nfair competition, consu mer protection, u nfair practices, trad e practices, price

d iscrimination,u nitary pricing,racketeering,civilconspiracy,common law or statu tory frau d

laws,whetheru nd erfed eral,state,local,orforeign law.Forthe avoid ance of d ou bt,the Released

D ealership C lass C laims (a)inclu d e withou tlimitation any claim or allegation relating in any

way to a continu ation after the E ffective D ate of any cond u ct d escribed in the preced ing

sentence;bu t(b) d o notrelease,alter,or affectany ex isting or fu tu re contractu alobligations

between Reynold s and aD ealershipC lass M emberforReynold s to provid e prod u cts orservices

to the D ealershipC lass M emberand forthe D ealershipC lass M emberto pay forthose prod u cts

orservices.


               (c)     “D ealership C lass Releasors”means the D ealership C lass P laintiffs and

D ealership C lass M embers,and their respective pastand present(as of the E x ecu tion D ate)

officers, d irectors,employees,agents,stockhold ers,attorneys, servants,members,entities,

representatives, parents, su bsid iaries, affiliates, partners, insu rers and all other persons,



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partnerships orcorporations withwhom any of the formerhave been,orare now,affiliated ,and

the pred ecessors,su ccessors,heirs,ex ecu tors,ad ministrators and assigns of any of the foregoing,

as wellas to anyone claimingby,for,orthrou ghany of the foregoing.


       14.     Release of C laims A gainstD ealership C lass Releasees.Upon the E ffective

D ate,the D ealership C lass Releasees shall be completely released ,acqu itted ,and forever

d ischarged from any and allReleased Reynold s C laims by the Reynold s Releasors.


               (a)     “D ealership C lass Releasees”means the D ealership C lass P laintiffs and

D ealership C lass M embers,and their respective pastand present(as of the E x ecu tion D ate)

officers, d irectors,employees,agents,stockhold ers,attorneys, servants,members,entities,

representatives, parents, su bsid iaries, affiliates, partners, insu rers and all other persons,

partnerships orcorporations withwhom any of the formerhave been,orare now,affiliated ,and

the pred ecessors,su ccessors,heirs,ex ecu tors,ad ministrators and assigns of any of the foregoing,

as wellas to anyone claimingby,for,orthrou ghany of the foregoing.


               (b)     “Released Reynold s C laims” means any and all claims, d emand s,

ju d gments,actions,su its,and cau ses of action,whether class,ind ivid u alor otherwise that

Reynold s Releasors,oreach of them,whetherd irectly,ind irectly,representatively,d erivatively,

or in any other capacity,ever had ,now has,or hereafter can,shall,or may have againstthe

D ealership C lass Releasees,whetherknown oru nknown,foreseen oru nforeseen,su spected or

u nsu spected ,actu alorcontingent,liqu id ated oru nliqu id ated ,relatingin any way to any cond u ct

priorto the E ffective D ate and arising ou tof orrelated in any way,in whole orin part,to any

cond u ctalleged ,and cau ses of action asserted orthatcou ld have been alleged orasserted ,in the

D ealershipC lass A ction,inclu d ingwithou tlimitation those asserted orthatcou ld be asserted in



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any cou nterclaim by Reynold s arising u nd erthe C ompu terFrau d and A bu se A ct,18 U.S.C .§

10 30 etseq.;the C opyrightA ct,17 U.S.C .§ 50 1;the D igitalM illenniu m C opyrightA ct,17

U.S.C .§ 120 1;the W isconsin C ompu terC rimes A ct,W is.Stat.§ 943.70(2)(a);the C alifornia

C omprehensive C ompu ter D ata A ccess and Frau d A ct,C al.P enalC od e § 50 2;the C alifornia

UnfairC ompetition L aw,C al.B u s.and P rof.C od e § 17 20 0 ;and similarlaws.Forthe avoid ance

of d ou bt,the Released Reynold s C laims (a) inclu d e any claims that Reynold s cou ld have

asserted againstthe D ealershipC lass Releasees relatingto the u se orsharingof log-in cred entials

prior to the E ffective D ate,bu t (b) d o not release,alter,or affect any ex isting or fu tu re

contractu alobligations between Reynold s and a D ealership C lass M ember for Reynold s to

provid e prod u cts or services to the D ealership C lass M ember and for the D ealership C lass

M ember to pay for those prod u cts or services and (c)Reynold s Releasors d o notrelease,and

ex pressly preserve,allclaims,known oru nknown,they may have againstany person otherthan

D ealership C lass Releasees,inclu d ing withou tlimitation any cu rrentor fu tu re plaintiff in the

M D L otherthan D ealershipC lass P laintiffs.


               (c)     “Reynold s Releasors”means Reynold s and allof its pastand present(as

of the E x ecu tion D ate),d irectand ind irect,parents,su bsid iaries,and affiliates and allof their

respective pastand present(as of the E x ecu tion D ate),d irectand ind irect,parents,su bsid iaries,

affiliates,u nincorporated entities,d ivisions,and grou ps;the pred ecessors,pred ecessors in

interest,su ccessors,su ccessors in interestand assigns of any of the above;and each and allof

the present (as of the E x ecu tion D ate) and former principals,partners,officers,d irectors,

su pervisors,employees,agents,representatives,stockhold ers,servants,members,entities,

insu rers,attorneys,heirs,ex ecu tors,ad ministrators,and assigns of any of the foregoing,as

wellas to anyone claimingby,for,orthrou gh any of the foregoing.



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       15.     N o Fu tu re A ctions Following Releases. D ealership C lass Releasors and

Reynold s Releasors shallnot,afterthe E ffective D ate,seek(d irectly orind irectly)to commence,

institu te,maintain orprosecu te any su it,action orcomplaintorcollectfrom orproceed against

Reynold s Releasees or D ealership C lass Releasees,respectively,(inclu d ing pu rsu ant to the

M D L )based on the Released C laims in any foru m world wid e,whetheron his,her,orits own

behalf oras partof any pu tative,pu rported orcertified class.


       16.     C ovenant N ot to S u e.D ealership C lass Releasors and Reynold s Releasors

hereby covenantnotto su e Reynold s Releasees and D ealership C lass Releasees,respectively,

with respectto any Released C laims.D ealershipC lass Releasors and Reynold s Releasors shall

be permanently barred and enjoined from institu ting,commencing,or prosecu ting againstthe

Reynold s Releasees and D ealershipC lass Releasees,respectively,any claims based in whole or

in parton the Released C laims.The Settling P arties contemplate and agree thatthis A greement

may be plead ed as abarto alawsu it,and an inju nction may be obtained ,preventing any action

from being initiated ormaintained in any case sou ghtto be prosecu ted by oron behalf of any

D ealershipC lass ReleasororReynold s Releasorwithrespectto the Released C laims.


       17 .    W aiverof C alifornia C ivilC od e § 1542 and S imilarL aws.D ealership C lass

Releasors and Reynold s Releasors acknowled ge that,by virtu e of this A greement,and forthe

consid eration received hereu nd er,it is their intention to release,and they are releasing,all

Released C laims,inclu d ingany Released C laim thatany D ealershipC lass ReleasororReynold s

Releasord oes notknow orsu spectto ex istin his,herorits favoratthe time of the release thatif

known by him,herorit,mighthave affected his,herorits settlementwithand release,ormight

have affected his,herorits d ecision notto objectto this Settlement(“Unknown C laims”
                                                                                    ).Su ch

Unknown C laims inclu d e claims that are the su bject of C alifornia C ivilC od e § 1542 and


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equ ivalent,similar,or comparable laws or principles of law.C alifornia C ivilC od e § 1542

provid es:


       C E RTA IN C L A IM S N O T A FFE C TE D B Y GE N E RA L RE L E A SE . A
       GE N E RA L RE L E A SE D O E S N O T E X TE N D TO C L A IM S W H IC H TH E
       C RE D ITO R D O E S N O T KN O W O R SUSP E C T TO E X IST IN H IS O R H E R
       FA V O R A T TH E TIM E O F E X E C UTIN G TH E RE L E A SE , W H IC H IF
       KN O W N B Y H IM O R H E R M UST H A V E M A TE RIA L L Y A FFE C TE D H IS
       O R H E R SE TTL E M E N T W ITH TH E D E B TO R;

E ach D ealershipC lass Releasorand Reynold s Releasormay hereafterd iscoverfacts otherthan

or d ifferentfrom those which he,she,or itknows or believes to be tru e with respectto the

Released C laims,bu t each su ch D ealership C lass Releasor and Reynold s Releasor hereby

ex pressly waives and fu lly,finally,and forever settles and releases,u pon this A greement

becomingfinal,any known oru nknown,su spected oru nsu spected ,contingentornon-contingent

claim withrespectto the Released C laims,whetherornotconcealed orhid d en,withou tregard to

the su bsequ entd iscovery orex istence of su chd ifferentorad d itionalfacts.The D ealershipC lass

P laintiffs and Reynold s acknowled ge,and allD ealership C lass Releasors,D ealership C lass

Releasees,Reynold s Releasors,and Reynold s Releasees by operation of law shallbe d eemed to

have acknowled ged ,that the inclu sion of “Unknown C laims”in the Released C laims was

separately bargained forand was akey elementof the Settlement.

       18 .    D ismissal.The C ou rt hereby d ismisses with preju d ice the D ealership C lass

A ction as to Reynold s only,withou tcosts to any of the parties as againstthe others,ex ceptas

otherwise provid ed in the A greement.


       19.     C ontribu tion and Ind emnification.There shall be no right of contribu tion

between the N on-SettlingD efend antand the SettlingD efend antbased on theirpotential,alleged

oractu alstatu s as jointtortfeasors orco-conspirators with respectto the Released C laims (any



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claim forsu ch being a“C ontribu tion C laim”
                                            ).N otwithstand ing the foregoing,shou ld any cou rt

d etermine any N on-Settling D efend antis/was legally entitled to contribu tion from any Settling

D efend ant with respect to a C ontribu tion C laim,then any money ju d gment su bsequ ently

obtained by the D ealershipC lass P laintiffs againstsu chN on-SettlingD efend antshallbe red u ced

to an amou ntsu ch that,u pon payingthe entire amou nt,the N on-SettlingD efend antwou ld have

no C ontribu tion C laim againstany SettlingD efend ant.


       20 .    Use of O rd er.This FinalA pprovalO rd erand J
                                                            u d gment,the A greement,and any

negotiations,d ocu ments,and d iscu ssions associated withthem,shallnotbe d eemed orconstru ed

to be an ad mission by Reynold s or the D ealership C lass P laintiffs (or the other Reynold s

Releasees orD ealershipC lass Releasees)orevid ence of any violation of any statu te orlaw orof

any liability orwrongd oingby Reynold s orthe D ealershipC lass P laintiffs (orthe otherReynold s

Releasees or D ealership C lass Releasees),or of the tru th of the claims or allegations in any

complaintorany otherplead ingfiled in the D ealershipC lass A ction,and evid ence thereof shall

notbe d iscoverable oru sed d irectly orind irectly in the D ealershipC lass A ction orin any other

action orproceed ing.



       21.     N eitherthis FinalA pprovalO rd erand J
                                                     u d gment,northe A greement,norany of

its terms and provisions,nor the negotiations or proceed ings connected with it,nor any other

action taken to carry ou tthe A greementby either of the Settling P arties shallbe referred to,

offered as evid ence or received in evid ence in any pend ing or fu tu re civil,criminal,or

ad ministrative action or proceed ings,ex ceptin a proceed ing to enforce the A greement,or to

d efend againstthe assertion of Released C laims,oras otherwise requ ired by law.




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       22.     E ffect of Termination, Rescission, or Failu re to B ecome Final. If the

Settlementis terminated ,rescind ed ,or otherwise d oes notbecome Final,then the A greement,

inclu d ing any amend ment(s) thereof,then this FinalA pprovalO rd er and J
                                                                          u d gment(and any

otherord ers of the C ou rtrelatingto the Settlement)shallbe nu lland void ,of no fu rtherforce or

effect,and withou tpreju d ice to any party,and may notbe introd u ced as evid ence orreferred to

in any actions orproceed ings by any person orentity,and eachparty shallbe restored to his,her

orits respective position as of September25,20 18 .


       23.     Retention of Ju risd iction.W ithou taffectingthe finality of this O rd er,the C ou rt

reserves and retains ex clu sive and continu ingju risd iction overallparties to the M D L A ction,all

D ealershipC lass M embers,and the SettlementFu nd to consid erallfu rthermatters arisingou tof

or connected with the A greement. Reynold s retains any contractu alrights it may have to

arbitrate any d ispu te relating to any Released C laim with any D ealership C lass M ember who

timely and valid ly elects to be ex clu d ed from the D ealership C lass in accord ance with the

proced u re established by the C ou rt.


       24.     A ttorneys’Fees and E x penses N ota D elay.The award of any attorneys’fees,

costs,orex penses to D ealershipC lass C ou nseland M D L L iaison C ou nsel,inclu d ingany appeals

therefrom,shallnotaffectthe finality of this FinalA pprovalO rd erand J
                                                                      u d gmentord elay the

E ffective D ate of the Settlement.


       25.     E ntryof this FinalO rd erand Ju d gment.The C ou rtfind s there is no ju streason

for d elay and d irects the C lerk to enter this FinalA pprovalO rd er and J
                                                                           u d gmentforthwith

pu rsu antto Ru le 54(b)of the Fed eralRu les of C ivilP roced u re.The D ealershipC lass A ction is




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notd ismissed in respectof claims againstany person orentity otherthan the SettlingD efend ant

Reynold s.


D ated :      C hicago,Illinois
              _______________,20 19


                                               ________________________________
                                               H onorable RobertM .D ow,J r.
                                               UN ITE D STA TE S D ISTRIC T JUD GE




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